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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA

________________________________________________________________________
United States of America,
                                                       Criminal No. 03-218 (2) (RHK/AJB)
                     Plaintiff,
                                                       ORDER FOR APPOINTMENT
                                                       OF COUNSEL
v.

Rey Gama Mendoza,

                 Defendant.
________________________________________________________________________


       The Court has determined that the Defendant in the above matter is financially

unable to employ counsel and finds that it is in the interest of justice that counsel be

assigned.

       IT IS HEREBY ORDERED that counsel is appointed pursuant to 18 U.S.C.

§ 3006A.


Dated: March 26, 2008                          s/Richard H. Kyle
                                               RICHARD H. KYLE
                                               United States District Judge
